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 7 Attorneys for Defendant
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 8

 9                            UNITED STATES DISTRICT COURT

10                        NORTHERN DISTRICT OF CALIFORNIA

11                               SAN FRANCISCO DIVISION

12
     FLEXPORT, INC.,                           Case No. 3:25-cv-2500-RFL
13
                 Plaintiff,                    STIPULATION AND [PROPOSED]
14                                             ORDER EXTENDING TIME FOR
           v.                                  CERTAIN DEFENDANTS TO
15                                             RESPOND TO COMPLAINT
     FREIGHTMATE AI, INC., YINGWEI
16   (JASON) ZHAO, and BRYAN                   (LOCAL RULE 6-1)
     LACAILLADE,
17                                             Assigned to the Honorable Rita F. Lin
                 Defendants.                   Courtroom: 15, 18th Floor
18

19                                             Date Action Filed: March 12, 2025
                                               Trial Date: None set
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                     STIPULATION AND [PROPOSED] ORDER EXTENDING TIME
                     FOR CERTAIN DEFENDANTS TO RESPOND TO COMPLAINT
                                  CASE NO.: 3:25-CV-2500-RFL
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 1         Pursuant to Rule 6-1(a) of the Civil Local Rules of the United States District Court,
 2 Northern District of California, Plaintiff Flexport, Inc. (“Plaintiff”) and Defendants freightmate

 3 Ai, Inc. (“freightmate”) and Bryan Lacaillade (“Lacaillade”) stipulate as follows:

 4         WHEREAS, Plaintiff filed a Complaint (the “Complaint”) in the above-captioned action
 5 on March 12, 2025;

 6         WHEREAS, the parties filed a Stipulation Extending Time for Defendants to Respond to
 7 Complaint (“First Stipulation”) on April 2, 2025 whereby the parties agreed that freightmate and

 8 Mr. Lacaillade would have until Friday, April 18, 2025 to respond to the Complaint;

 9         WHEREAS, freightmate and Mr. Lacaillade filed motions to dismiss on April 18, 2025;
10         WHEREAS, through their counsel’s inadvertence, freightmate and Mr. Lacaillade’s
11 motions complied with N.D. Cal. Local Rule 7-2(b)’s 25-page limit, instead of this Court’s

12 Standing Order providing that briefs (subject to certain exceptions not applicable here) shall not

13 exceed 15 pages;

14         WHEREAS Plaintiff is willing to further extend freightmate and Mr. Lacaillade’s time to
15 respond to the Complaint until April 22, 2025 provided that they withdraw their pending motions

16 to dismiss without prejudice and refile them in conformity with this Court’s Standing Order

17 (among any other applicable rules), and do not introduce new facts, arguments, or authorities;

18         Now, therefore, Plaintiff and defendants freightmate and Lacaillade, through their
19 respective undersigned counsel, hereby STIPULATE and AGREE as follows:

20         1. Freightmate and Mr. Lacaillade shall file a Notice of Withdrawal (without prejudice)
21             of their respective pending motions to dismiss on April 22, 2025.
22         2. Freightmate and Mr. Lacaillade shall have a further extension of time to respond to
23             the Complaint through April 22, 2025, provided that any re-filed motions to dismiss
24             that they file fully comply with this Court’s Standing Order (among any other
25             applicable rules), and do not introduce new facts, arguments, or authorities relative to
26             the April 18 motions.
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                        STIPULATION AND [PROPOSED] ORDER EXTENDING TIME
                        FOR CERTAIN DEFENDANTS TO RESPOND TO COMPLAINT
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 1          3. For the avoidance of doubt, Plaintiff’s time to respond to any re-filed motions to
 2             dismiss shall be calculated from the date of filing of such motions.
 3

 4 IT IS SO STIPULATED.

 5 Dated: April 22, 2025                          TYZ LAW GROUP PC
 6                                                /s/ Udit Sood
                                                  Udit Sood, Esq.
 7                                                Attorneys for Plaintiff Flexport, Inc.
 8
     Dated: April 22, 2025                        ALTO LITIGATION, PC
 9
                                                  /s/ Bahram Seyedin-Noor
10                                                Bahram Seyedin-Noor, Esq.
                                                  Attorney for Defendant freightmate Ai, Inc.
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12 Dated: April 22, 2025                          MOBILITY LEGAL PC
13                                                /s/ David R. Burtt
14                                                David R. Burtt, Esq.
                                                  Attorney for Defendant Bryan Lacaillade
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16              ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

17          Pursuant to N.D. Cal. Local Rule 5-1(i)(3), I attest that concurrence in the filing

18 of this document has been obtained from each of the other signatories.

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20 Dated: April 22, 2025                          /s/ Monica M. Eno
                                                  Monica Mucchetti Eno
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                        STIPULATION AND [PROPOSED] ORDER EXTENDING TIME
                        FOR CERTAIN DEFENDANTS TO RESPOND TO COMPLAINT
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 1                                      [PROPOSED] ORDER
 2         Having reviewed the foregoing Stipulation and good cause appearing therefor, defendants
 3 freightmate and Bryan Lacaillade shall have until April 22, 2025 to file their responsive pleading.

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 5         IT IS SO ORDERED.
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                                                                JUDGE RITA F. LIN
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                       STIPULATION AND [PROPOSED] ORDER EXTENDING TIME
                       FOR CERTAIN DEFENDANTS TO RESPOND TO COMPLAINT
                                    CASE NO.: 3:25-CV-2500-RFL
